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                                                                                                  N.D.N.Y.
                                                                                                  22-cv-986
                                                                                                 Suddaby, J.

                                 United States Court of Appeals
                                                       FOR THE
                                              SECOND CIRCUIT
                                              _________________

                      At a stated term of the United States Court of Appeals for the Second
        Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
        in the City of New York, on the 7th day of December, two thousand twenty-two.

        Present:
                       Robert D. Sack,
                       Richard C. Wesley,
                       Joseph F. Bianco,
                             Circuit Judges.

        Ivan Antonyuk, et al.,

                                      Plaintiffs-Appellees,

                       v.                                                           22-2908(L),
                                                                                    22-2972(Con)
        Kathleen Hochul, in her Official Capacity as
        Governor of the State of New York, et al.,

                                      Defendants-Appellants.


        Appellants request a stay pending appeal of the district court’s order dated November 7, 2022
        (N.D.N.Y. 22-cv-986, doc. 78), enjoining Appellants from enforcing certain aspects of New
        York’s Concealed Carry Improvement Act (“CCIA”). Having weighed the applicable factors, see
        In re World Trade Ctr. Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007), we conclude that a
        stay pending appeal is warranted. Accordingly, upon due consideration, it is hereby ORDERED
        that the motion for a stay pending appeal is GRANTED and the district court’s November 7 order
        is STAYED pending the resolution of this appeal. To the extent that the district court’s order bars
        enforcement of the CCIA’s provisions related to persons who have been tasked with the duty to
        keep the peace at places of worship, airports, and private buses, such categories are EXCEPTED
        from this order. Appellees’ motion to expedite the resolution of the matter is GRANTED.

                                                       FOR THE COURT:
                                                       Catherine O’Hagan Wolfe,
                                                       Clerk of Court




CERTIFIED COPY ISSUED ON 12/07/2022
